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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION


    IN RE:                                       )               CHAPTER 7
                                                 )
    CYRUS MEAD IV,                               )               CASE NO. 10-09630-8-SWH
                                                 )
                          Debtor.                )




        MOTION TO REOPEN CHAPTER 7 CASE AND HOLD MADELEINE M.
                     WARD IN CONTEMPT OF COURT

            NOW COMES Cyrus Mead IV, the Debtor, and asks this court to reopen his
    Chapter 7 case, hold Ms. Madeleine M. Ward in contempt of court for violation of the
    discharge injunction and issue sanctions as this court deems appropriate. The debtor
    states as follows:

             1.    The Debtor filed for relief under Chapter 7 of the Bankruptcy Code on
                   November 22, 2010.

             2.    On April 4, 2011, Ms. Ward filed an Adversary Proceeding (Case Number
                   11-00113-8-SWH) against the Debtor in this Court. The Adversary
                   Proceeding was dismissed on August 11, 2011 and closed on August 28,
                   2011.

             3.    The Debtor received his discharge on April 12, 2011 and his bankruptcy
                   case was closed on August 29, 2011, following the dismissal of the
                   Adversary Proceeding.

             4.    On September 16, 2011, Ms. Ward filed a pro se motion to reinstate her
                   complaint against the Debtor in the United States District Court of the
                   Northern District of Illinois, a copy of which is attached hereto as Exhibit
                   A.

             5.    The filing by Ms. Ward of her motion in Illinois is a willful violation of
                   the injunction arising as a result of the Debtor’s discharge in bankruptcy.

            Wherefore, the Debtor respectfully requests that the case be re-opened and that
    this Court hold Ms. Ward in contempt of her court for her violation of the discharge
    injunction and that the Court issue other sanctions as it deems proper.
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         This 5th day of October, 2011.

                               JANVIER LAW FIRM, PLLC

                               /s/ Justine S. O’Connor-Petts
                               William P. Janvier, N.C.S.B. No. 21136
                               Justine S. O’Connor-Petts, N.C.S.B. No. 39954
                               Attorney for Debtor
                               1101 Haynes Street; Suite 102
                               Raleigh, NC 27604
                               (919) 582-2323
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                                   CERTIFICATE OF SERVICE

             I, Justine S. O’Connor-Petts, do hereby certify that a true copy of the foregoing was
    electronically filed through CM/ECF and served on the parties listed below by depositing a copy
    of the same in the United States mail bearing sufficient postage or electronically as indicated.

               Marjorie K. Lynch
               Bankruptcy Administrator         (Via CM/ECF)
               Post Office Box 3758
               Wilson, NC 27895-3758

               Holmes P. Harden, Trustee (via CM/ECF)
               Williams Mullen
               P. O. Drawer 1000
               Raleigh, NC 27602

               Madeleine M. Ward (via U.S. Mail)
               1911 S. Clark St.
               Unit D
               Chicago, IL 60616

           This the 5th day of October, 2011.

                                   JANVIER LAW FIRM, PLLC

                                   /s/ Justine S. O’Connor-Petts
                                   William P. Janvier, N.C.S.B. No. 21136
                                   Justine S. O’Connor-Petts, N.C.S.B. No. 39954
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